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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA                                CRIMINAL NO. 3:24-cr-108 (SRU)

          v.

 KONSTANTINOS DIAMANTIS,
 a.k.a. “Kosta”                                          May 17, 2024

                       GOVERNMENT’S NOTICE OF RELATED CASE

         The United States of America respectfully notifies the Court that this criminal case, United

States v. Konstantinos Diamantis, 3:24-cr-108, which was randomly assigned by the Clerk’s Office

to the Honorable Stefan R. Underhill, is related to a series of earlier-filed cases, United States v.

Salvatore Monarca, 3:24-cr-104, United States v. John F. Duffy, 3:24-cr-105, and United States v.

Antonietta Roy, 3:24-cr-106, pending before the Honorable Jeffrey Alker Meyer.

         By way of background, on May 13, 2024, Judge Meyer accepted a guilty plea from each

of Mr. Monarca and Mr. Duffy to conspiracy to commit extortion under color of official right, in

violation of 18 U.S.C. § 1951; on May 14, 2024, Judge Meyer accepted a guilty plea from Ms.

Roy to conspiracy to commit bribery, in violation of 18 U.S.C. § 371. In each case, Judge Meyer

granted a motion to seal and delay victim notification in anticipation of an investigation that the

Government expected to present to the Grand Jury prior to May 20, 2024. On May 15, 2024, the

Grand Jury returned an indictment against Mr. Diamantis in this case. On May 16, 2024, Mr.

Diamantis was arrested, and he was presented and arraigned before Magistrate Judge Farrish; on

that same day, Judge Meyer granted the Government’s motion to unseal each of the earlier-filed

cases.

         Under this Court’s criminal Local Rule 50(b), “[a]ll cases will be assigned to a single Judge

from filing to termination. In the event that it is subsequently determined that there is pending in
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this District a related case…the later filed case should normally be transferred to the Judge having

the earliest filed case.” This case against Mr. Diamantis (3:24-cr-108) involves the same criminal

conduct to which the defendants in the earlier-filed cases (3:24-cr-104, -105, and -106) pled guilty.

Consolidating the four cases before one district court judge would serve judicial economy, avoid

inconsistent rulings and factfinding, and promote consistent sentencing determinations. Thus,

consistent with Local Rule 50(b), the Government recommends that this case be transferred to

Judge Meyer.

                                                   Respectfully submitted,

                                                   VANESSA ROBERTS AVERY
                                                   UNITED STATES ATTORNEY

                                                             /s/
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 17, 2024, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s CM/ECF System.


                                                              /s/
                                                       JONATHAN N. FRANCIS
                                                       ASSISTANT UNITED STATES ATTORNEY




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